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Naomi Levelle Haslitt, OSB No. 075857
naomi.haslitt@millernash.com
Cody J. Elliott, OSB No. 091027
cody.elliott@millernash.com
MILLER NASH GRAHAM & DUNN LLP
3400 U.S. Bancorp Tower
111 S.W. Fifth Avenue
Portland, Oregon 97204
Telephone: 503.224.5858
Facsimile: 503.224.0155

           Attorneys for Defendant
           Oregon State University




                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                          EUGENE DIVISION


REGINIA GRIDER,                                                                               Case No. 6:20-cv-01176-MC

                       Plaintiff,
                                                                         NOTICE OF WITHDRAWAL OF
           v.                                                            ATTORNEY

OREGON STATE UNIVERSITY,

                       Defendant.



TO:                THE CLERK OF COURT

AND TO:            PLAINTIFF AND HER COUNSEL OF RECORD


                   PLEASE TAKE NOTICE that effective immediately, Jollee Patterson

hereby withdraws as attorney of record for Defendant, Oregon State University. Naomi Levelle




Page 1 -        Notice of Withdrawal of Attorney
                                      MILLER NASH GRAHAM & DUNN LLP
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Haslitt and Cody J. Elliott of Miller Nash Graham & Dunn LLP will continue as counsel of

record for Defendant, Oregon State University, in this action.


                   DATED this 19th day of October, 2020.

                                                  MILLER NASH GRAHAM & DUNN LLP



                                                  s/Cody J. Elliott
                                                  Naomi Levelle Haslitt, OSB No. 075857
                                                  naomi.haslitt@millernash.com
                                                  Cody J. Elliott, OSB No. 091027
                                                  cody.elliott@millernash.com
                                                  Phone: 503.224.5858
                                                  Fax: 503.224.0155

                                                  Attorneys for Defendant
                                                  Oregon State University



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Page 2 -     Notice of Withdrawal of Attorney
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